       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 1 of 8
                                                                                Page 1 of 8




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




AUGUST DEKKER et al.,

                Plaintiffs,
v.                                             CASE NO. 4:22cv325-RH-MAF

SIMONE MARSTILLER et al.,

          Defendants.
_____________________________________/


               ORDER DENYING A PRELIMINARY INJUNCTION


        The State of Florida recently adopted a rule barring Medicaid payment for

specific categories of treatment for gender dysphoria: puberty blockers, hormone

therapy, and surgeries. The plaintiffs assert the rule is unconstitutional, violates the

Affordable Care Act’s nondiscrimination provision, and violates the federal

Medicaid statute. The plaintiffs have moved for a preliminary injunction based

only on the Constitution and ACA, not based on the Medicaid statute. This order

confirms and briefly summarizes the ruling announced on the record at the

conclusion of a hearing on the motion.




Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 2 of 8
                                                                                 Page 2 of 8




                                            I

        Medicaid is a jointly funded federal-state program that provides medical

care for patients of limited economic means. See Harris v. James, 127 F.3d 993,

996 (11th Cir. 1997). Federal law makes some services mandatory but allows

states to “place appropriate limits” based on “such criteria as medical necessity or

on utilization control procedures.” 42 C.F.R. § 440.230(d); see also Rush v.

Parham, 625 F.2d 1150, 1156 (5th Cir. 1980). States may “set reasonable

standards” for “medical necessity.” Garrdio v. Dudek, 731 F.3d 1152, 1155 (11th

Cir. 2013).

        Exercising this authority, Florida has long barred payment for physician

services that are “clinically unproven [or] experimental.” Fla. Stat. § 409.905(9). If

there is a difference between “clinically unproven” and “experimental,” it makes

no difference for purposes of this order. For convenience, when discussing the

Florida statute, this order uses the term “experimental,” without also referring to

“clinically unproven.” This is consistent with the way the parties have briefed the

issues.

        The statute is unquestionably valid, at least on its face. The controlling

question in this litigation is whether applying the provision to the gender-dysphoria

treatments at issue violates the United States Constitution or federal law.




Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 3 of 8
                                                                                  Page 3 of 8




                                            II

        As a prerequisite to a preliminary injunction, a plaintiff must establish a

substantial likelihood of success on the merits, that the plaintiff will suffer

irreparable injury if the injunction does not issue, that the threatened injury

outweighs whatever damage the proposed injunction may cause a defendant, and

that the injunction will not be adverse to the public interest. See, e.g., Charles H.

Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1354 (11th Cir. 2005); Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).

                                           III

        In Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980), a Medicaid beneficiary

challenged Georgia’s refusal to pay for gender-affirming surgery. The state said

the surgery was experimental and thus not medically necessary. The district court

ruled that the surgery was necessary because the plaintiff’s physician said so—that

the state was bound by the physician’s opinion. Not surprisingly, the Fifth Circuit

disagreed.

        The Fifth Circuit remanded the case to the district court to determine two

things: first, whether Georgia had a policy prohibiting payment for experimental

services when it first rejected the plaintiff’s application; and second, if it did,

“whether its determination that transsexual surgery is experimental is reasonable.”

Id. at 1157. The court said this second question—whether the state’s determination


Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 4 of 8
                                                                               Page 4 of 8




“is” reasonable, would be controlled on remand by “current medical opinion,

regardless of the prevailing knowledge at the time of plaintiff’s application.” Id. at

1157 n.13.

        Rush is binding authority in the Eleventh Circuit. See Bonner v. City of

Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc). The remand instructions

were the Fifth Circuit’s square holding. The case dealt only with surgery, not

puberty blockers or hormone therapy, but the same principles apply. The decision

thus sets out a roadmap for further proceedings in this court—the same roadmap

the district court was required to follow in Rush.

        There is, however, one difference. This record provides no basis to doubt

that Florida prohibited payment for experimental services when the plaintiffs

submitted their applications. This was the first of the two questions on remand in

Rush. The second question thus will be controlling here: whether, based on current

medical knowledge, the state’s determination that these treatments are

experimental is reasonable.

        If the state has reasonably determined these treatments are experimental, the

refusal to pay for them under the Medicaid program is unconstitutional or violates

the ACA nondiscrimination provision only if the state pays for other, equivalently

experimental treatments. The plaintiffs will face a difficult task to show that any

other treatment is equivalently experimental, because it will be difficult to establish


Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 5 of 8
                                                                                Page 5 of 8




two things: first, an equivalence between any Florida-Medicaid-eligible service

and these treatments for this diagnosis, or second, an equivalence of current

medical knowledge between these treatments and any Florida-Medicaid-eligible

service. The plaintiffs’ suggestion that their diagnoses can be ignored so that

equivalence can be established merely by showing that the same procedures are

provided for other diagnoses will not do—a treatment that is well established in

one circumstance may be experimental in another. The record does not show that

the plaintiffs are likely to prevail on this issue.

        If, on the other hand, the state has not reasonably determined the treatments

are experimental, the state will be required to pay for the treatments under the

Medicaid program, and there will be no need to reach the constitutional issue. See

generally Ashwander v. Tenn. Valley Auth., 297 U.S. 288, 341, 345-46 (1936)

(Brandeis, J., concurring) (setting out fundamental principles of constitutional

adjudication, including that, “The Court will not ‘anticipate a question of

constitutional law in advance of the necessity of deciding it’ ”) (quoting earlier

authorities in part); see also Lyng v. Nw. Indian Cemetery Protective Ass’n, 485

U.S. 439, 445 (1988) (“A fundamental and longstanding principle of judicial

restraint requires that courts avoid reaching constitutional questions in advance of

the necessity of deciding them.”), quoted with approval in Williamson v. Brevard

Cnty., 928 F.3d 1296, 1316-17 (11th Cir. 2019); Hayburn’s Case, 2 U.S. 408


Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 6 of 8
                                                                                  Page 6 of 8




(1792) (forbidding federal courts from rendering advisory opinions or making

determinations that are subject to revision by the executive branch).

        In short, the case is likely to rise or fall on the Medicaid claim. The plaintiffs

have not moved for a preliminary injunction on that claim. They have not shown a

likelihood of success on the merits on the constitutional and ACA claims, because

it is likely that the plaintiffs will lose those claims (if they lose the Medicaid claim)

or that the other claims will not be reached (if the plaintiffs win the Medicaid

claim).

                                            IV

        An equally important basis for denying the plaintiffs’ motion is that they

have not shown they will suffer irreparable harm in the absence of a preliminary

injunction. This is so for two reasons.

        First, the record does not include medical testimony that the plaintiffs need

the treatments at issue and will suffer irreparable harm if it is not provided before

the scheduled trial. A factfinder could perhaps conclude, from the plaintiffs’ own

testimony, that they will suffer irreparable harm, but I do not make that finding on

that basis at this time.

        Second, the defendants have represented, in opposition to the plaintiffs’

motion, that Florida law does not flatly prohibit Medicaid payment for the

treatments at issue, and that instead, the plaintiffs may be able to obtain payment


Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 7 of 8
                                                                                   Page 7 of 8




under Florida Statutes § 120.542. That statute allows an agency to grant a variance

or waiver from an otherwise uniformly applicable rule. The defendants equated

this to the emerging approach in some European countries, where treatment of this

kind is available, just not as readily available as in years past. If a plaintiff qualifies

for a variance under § 120.542—as one or more of them well might if, as the

defendants have said, the challenged rule mirrors the cited European approach—

the plaintiff will not suffer irreparable harm. The defendants’ representation is a

basis for this order denying a preliminary injunction and will bind the defendants

as the case goes forward.

                                            V

        A note should be added about what this case does not involve. The question

presented is only whether Medicaid must pay for the treatments at issue. The case

does not involve the markedly different question whether a state could prohibit

treatments of this kind. Florida does not prohibit the treatments.

                                            VI

        The bottom line is this. The Medicaid claim is likely to control the outcome

of this litigation. The plaintiffs have not moved for a preliminary injunction on that

claim. And they have not established that they will suffer irreparable harm if a

preliminary injunction does not issue, partly because they have not sought a

variance or waiver.


Case No. 4:22cv325-RH-MAF
       Case 4:22-cv-00325-RH-MAF Document 64 Filed 10/24/22 Page 8 of 8
                                                                               Page 8 of 8




        For these reasons and those set out on the record at the conclusion of the

preliminary-injunction hearing,

        IT IS ORDERED:

        The preliminary-injunction motion, ECF No. 11, is denied.

        SO ORDERED on October 24, 2022.

                                        s/Robert L. Hinkle
                                        United States District Judge




Case No. 4:22cv325-RH-MAF
